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  POST CONFIRMATION
  QUARTERLY OPERATING REPORT




  CASE NAME: GTL (USA), Inc.
        This report covers the GTL Creditors Trust only

  CASE NUMBER: 15-40248




  QUARTER ENDING: March 31, 2016


      1 BEGINNING OF QUARTER CASH BALANCE:                                                                                        $649,125.20



        CASH RECEIPTS:
        CASH RECEIPTS DURING CURRENT QUARTER:
        (a). Cash receipts from business operations                                                                           +
        (b). Cash receipts from loan proceeds                                                                                 +
        (c). Cash receipts from contributed capital                                                                           +         $0.00
        (d). Cash receipts from tax refunds                                                                                   +
        (e). Cash receipts from other sources                                                                                 +
      2 TOTAL CASH RECEIPTS                                                                                                   =         $0.00

        CASH DISBURSEMENTS:
        (A). PAYMENTS MADE UNDER THE PLAN:
        (I). Administrative                                                                                                   +
        (2). Secured Creditors                                                                                                +
        (3). Priority Creditors                                                                                               +    $13,355.22
        (4). Unsecured Creditors                                                                                              +   $117,992.46
        (5). Additional Plan Payments                                                                                         +
        (B). OTHER PAYMENTS MADE THIS QUARTER:
        (1). General Business (Bank Charges)                                                                                  +       $627.78
        (2). Other Disbursements (Professional Fees)                                                                          +    $35,932.76

      3 TOTAL DISBURSEMENTS THIS QUARTER                                                                                          $167,908.22
        CASH BALANCE END OF QUARTER (Note to UST Analyst - cell G38 appears to of had an error in its formula that has been
      4 corrected by Creditors Trustee's analyst)                                                                             =   $481,216.98
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  POST CONFIRMATION
  QUARTERLY BANK RECONCILEMENT


  CASE NAME:                                  GTL (USA), Inc.
        This report covers the GTL Creditors Trust only

  CASE NUMBER:                                            15-40248



  The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
  and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
  obligations, etc. Accounts'with restricted funds should be identified by placing an asterisk next to the account number.
  Attach additional sheets for each bank reconcilement if necessary.


  QUARTER ENDING:
        Bank Reconciliations                              Account #1                Account #2                   Account #3                 Account #4
   A. Bank                                                US Bank         US Bank          US Bank
                                                                                                                                                               TOTAL
   B. Account Number                                        157506719341     157506719838             157506719846
   C. Purpose (Type)                                      General         Expense Reserves Disputed Claims Reserves
   1    Balance Per Bank Statement                            $481,382.74            $0.00                    $0.00                                          $481,382.74
   2    Add: Total Deposits Not Credited                                                                                                                 +         $0.00
   3    Subtract: Outstanding Checks                                    $165.76                                                                                 $165.76
   4    Other Reconciling Items                                                                                                                                    $0.00
   5    Month End Balance Per Books                                 $481,216.98                         $0.00                       $0.00                =   $481,216.98
   6    Number of Last Check Written                                       1002
   7    Cash: Currency on Hand                                      $481,216.98                                                                          +   $481,216.98
   8    Total Cash - End Of Month                                   $481,216.98                                                                          =   $481,216.98




        CASH IN:
        INVESTMENT ACCOUNTS
                                                          Date of                   Type of
        Bank, Account Name & Number                       Purchase                  Instrument                                                                  Value
   9                                                                                                                                                     +
   10                                                                                                                                                    +
   11                                                                                                                                                    +
   12                                                                                                                                                    +
   13 Total Cash Investments                                                                                                                             =           $0.00
   14 TOTAL CASH                                          LINE 8 - PLUS LINE 13 = LINE 14 ****                                                               $481,216.98
                                                                                                                                                                ****
   **** Must tie to Line 4, Quarterly Operating Report
